Case 2:03-cV-02631-SHI\/|-STA Document 19 Filed 05/09/05 Page 1 of 2 Page|D 41

    
 

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lN THE UNITED STATES DISTRICT COURT ` "
FOR THE WESTERN DISTRICT OF TENNESSEE 95 HAY _9 PM |: 00
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MICHAEL W. SMITH, ct_sa:»c_ rust cT.

"_»V.l') C'JFT `i"f‘d_ llE:’~f?:':l-§l$

Plaintiff,
v.

NO. 03-2631 Ma/An

SHELBY COUNTY, TENNESSEE,
et al.,

`\_/\_¢`-/\-/\_/W\_/\_¢"\-r'\_l

Dei`endants.

 

ORDER DENYING MOTION FOR EXTENSION OF TIME

 

Before the Court is Plaintiff’S Motion for Extension of Time to serve the Complaint on
Defendants filed on January 31, 2005. The Court notes that Plaintiff has still not effected service
of process on the Defendants in this case, some three months after Plaintiff filed the instant
Motion. Therefore, after due consideration and for a lack of good cause shown, Plaintiff’ s
Motion is DENIED.

lT IS SO ORDERED.

<§W;M/W 664/aj

S. THOMAS ANDERSON
UNTTED STATES MAGISTRATE JUDGE

Date: ;; ;/5‘;7 Wé?”, ZOQJ/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:03-CV-02631 Was distributed by faX, mail, or direct printing on
May ]1, 2005 to the parties listedl

 

Michael W. Smith
WCF: F-B-l 10
#274440

P.O. Box 679
Whiteville, TN 38075

Honorable Sarnuel Mays
US DISTRICT COURT

